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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  WESTERN DIVISION

LINDSEY LEE THOMAS, #50002                                                              PLAINTIFF

VERSUS                                               CIVIL ACTION NO. 5:10-cv-105-DCB-MTP

C.C.A.                                                                               DEFENDANT

                           MEMORANDUM OPINION AND ORDER

         On June 11, 2010, the Plaintiff filed a complaint pursuant to 42 U.S.C. § 1983 and

requested in forma pauperis status. An order [5] was entered on July 2, 2010, directing the

Plaintiff to file a written response on or before July 23, 2010. On July 20, 2010, the Plaintiff

filed a motion [7] for an extension of time to file a response to the order [5]. This Court then

entered an order [8] on July 29, 2010, granting the Plaintiff’s motion [7] and directing him to

comply with the Court’s order [5] on or before August 19, 2010. Plaintiff was warned in the

Court’s orders [5 & 8] of July 2, 2010, and July 29, 2010, that failure to advise this Court of a

change of address or failure to timely comply with the requirements of the orders may lead to the

dismissal of his complaint. Having reviewed the record, this Court finds that the Plaintiff failed

to comply with the orders [5 & 8].

         When the Plaintiff failed to comply with the orders [5 & 8], this Court entered an order

[9] on September 10, 2010, directing the Plaintiff to show cause why this case should not be

dismissed for his failure to comply with the Court'
                                                  s orders [5 & 8] of July 2, 2010, and July 29,

2010. In addition, the Plaintiff was directed to comply with this Court’s order [5] of July 2,

2010, on or before October 1, 2010. The Plaintiff was warned in this Court'
                                                                          s order [9] of

September 10, 2010, that failure to advise this Court of a change of address or failure to timely

comply with any order of this Court may lead to the dismissal of his complaint. On October 13,
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2010, the Plaintiff filed a pleading which was docketed as an affidavit of poverty and affidavit of

statement [10] which in no way complied with the Court’s orders [5, 8 & 9] of July 2, 2010, July

29, 2010, and September 10, 2010. Therefore, the Plaintiff once again failed to comply with the

Court’s orders [5, 8 & 9].

       Out of an abundance of caution, a final order to show cause [11] was entered on October

21, 2010, directing the plaintiff to file a response on or before November 11, 2010. This final

order to show cause [11] stated that this was the Plaintiff’s final opportunity to comply with the

Court’s orders [5, 8 & 9] of July 2, 2010, July 29, 2010, and September 10, 2010, and his failure

to comply would result in the dismissal of the instant civil action without further written notice.

A review of the docket entries reveal that the Plaintiff has not complied with the final order to

show cause [11].

       According to the court record, the Plaintiff has failed to comply with four court orders.1

Therefore, it is apparent from the Plaintiff’s failure to comply with the orders of this Court or to

otherwise communicate with this Court since October 13, 2010, when he filed an affidavit of

poverty and statement [10], demonstrates a lack of interest in pursuing this claim.

       This Court has the authority to dismiss an action for the Plaintiff'
                                                                          s failure to prosecute

under Fed. R. Civ. P. 41(b) and under its inherent authority to dismiss the action sua sponte. See

Link v. Wabash R.R., 370 U.S. 626, 629 (1962); McCullough v. Lynaugh, 835 F.2d 1126, 1127

(5th Cir. 1988). The Court must be able to clear its calendars of cases that remain dormant

because of the inaction or dilatoriness of the parties seeking relief, so as to achieve the orderly

and expeditious disposition of cases. Link, 370 U.S. at 630. Such a “sanction is necessary in



       1
          The docket entries reflect that these four orders [5, 8, 9, & 11] were mailed to the Plaintiff
at his last known address and have not been returned by the postal service.
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order to prevent undue delays in the disposition of pending cases and to avoid congestion in the

calendars” of the Court. Id. at 629-30.

       The Court concludes that dismissal of this action for the Plaintiff’s failure to prosecute

under FED. R. CIV. P. 41(b) is proper. Since the Defendant has never been called upon to respond

to the Plaintiff'
                s pleading, and has never appeared in this action, and since the Court has never

considered the merits of the Plaintiff'
                                      s claims, the Court'
                                                         s order of dismissal will be without

prejudice. See Munday/Elkins Auto. Partners, LTD. v. Smith, No. 05-31009, 2006 WL 2852389,

at *2 (5th Cir. Oct. 2, 2006).

       IT IS THEREFORE ORDERED AND ADJUDGED that the Plaintiff’s civil action

shall be dismissed without prejudice. A Final Judgment in accordance with this Memorandum

Opinion and Order will be entered.

       This the 26th     day of January, 2011.


                                              s/David Bramlette
                                                     UNITED STATES DISTRICT JUDGE
